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                                               State of New Jersey
PHILIP D. MURPHY                             OFFICE OF THE ATTORNEY GENERAL                                  MATTHEW J. PLATKIN
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                                                     DIVISION OF LAW
TAHESHA L. WAY                                            PO Box 45029                                       MICHAEL C. WALTERS
   Lt. Governor                                        Newark, NJ 07101                                            Acting Director


                                                        March 14, 2025

       VIA ECF
       Honorable Leda Dunn Wettre, U.S.M.J.
       United States District Court for the District of New Jersey
       Martin Luther King Jr. Federal Building & U.S. Courthouse
       50 Walnut Street
       Newark, New Jersey 07101

                        Re: United States, et al. v. Apple Inc.
                            Case No. 2:24-cv-04055 (JXN-LDW)
                            Notice of Withdrawal of Counsel

                  Dear Judge Wettre:

               This Office, by and through Attorney General Matthew J. Platkin, represents Plaintiff New
       Jersey in the above-captioned matter. This correspondence is submitted on behalf of Plaintiff
       California acting by and through its respective Attorney General in the above-captioned matter.
       Pursuant to Local Civil Rules 101.1(c)(5) and 102.1, I write to respectfully request that the Court
       approve Deputy Attorney General Robert McNary’s withdrawal as counsel for Plaintiff California,
       as he is departing the California Office of the Attorney General effective March 14, 2025.

              Robert McNary’s withdrawal will not result in any delay, as Plaintiff California will
       continue to be represented by Deputy Attorneys General Brian Wang and Cari Jeffries, who were
       each previously admitted Pro Hac Vice on behalf of California in this matter on May 1, 2024. (See
       ECF No. 35). All pleadings and other papers should be served upon Deputy Attorneys General
       Brian Wang and Cari Jeffries. Deputy Attorney General Robert McNary should be removed as
       attorney of record for California.

                  Thank you for your consideration of this matter.




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                                 Respectfully submitted,

                                 MATTHEW J. PLATKIN
                                 ATTORNEY GENERAL OF NEW JERSEY

                                 By:_______________________________
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                                      Deputy Attorney General
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                                       Attorney for Plaintiffs New Jersey, Arizona,
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                                       Indiana,    Maine,    Massachusetts, Michigan,
                                       Minnesota, Nevada, New Hampshire, New York,
                                       North Dakota, Oklahoma, Oregon, Tennessee,
                                       Vermont, Washington, and Wisconsin

      Encs.

      CC: All Counsel of Record (via ECF)
